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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                   (Lynchburg Division)

 V TRUST CARRIERS, INC.,                                     )
                                                             )
                Plaintiff,                                   )
                                                             )
 v.                                                          ) Case No.: 6:18-cv-00074-NKM
                                                             )
 DENIS ETHIER,                                               )
                                                             )
 and                                                         )
                                                             )
 PAPINEAU INTERNATIONAL, S.E.C.                              )
                                                             )
                Defendants.                                  )
                                                             )

         VOLUNTARY STIPULATION OF DISMISSAL WITHOUT PREJUDICE

        COME NOW the parties, and pursuant to Rule 41(a)(1)(ii) of the Federal Rules of Civil

 Procedure, hereby stipulate to a dismissal of this action (including Plaintiff’s Complaint and the

 Intervenor’s Complaint) without prejudice.


 /s/
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 National Liability & Fire Insurance Co.


 So approved this ______ day of ___________________, 2018



                                     _________________________________
                                     Robert S. Ballou
                                     United States Magistrate Judge




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